     ORAL ARGUMENT SCHEDULED FOR JANUARY 9, 2024
                             No. 23-3228

                                In the
             United States Court of Appeals
               for the District of Columbia Circuit
                         ____________________

                  UNITED STATES OF AMERICA
                               v.
                      DONALD J. TRUMP,
                                Defendant
                      ____________________
  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF COLUMBIA
          District Court No. 23-cr-257 (Chutkan, J.)
                             ______________

         ANSWERING BRIEF FOR THE UNITED STATES
                             _____________

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CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

     Pursuant to D.C. Cir. R. 28(a)(1), the undersigned certifies that:

     A.     Parties and Amici

     The parties that appeared in the district court and that are now

before this Court are the United States (appellee) and Donald J. Trump

(defendant-appellant). Amicus briefs have been filed in this Court by the

following entities: American Oversight; Former Government Officials

and Constitutional Lawyers; and Former Officials in Five Republican

Administrations.

     B.     Rulings Under Review

     The defendant seeks review of the order of the district court

(Chutkan, J.) denying his motions to dismiss based on Presidential

immunity and principles of double jeopardy. JA.599-641, 649-51.

     C.     Related Cases

     The same parties litigated a different issue arising out of the same

district court case in United States v. Trump, No. 23-3190 (D.C. Cir. Dec.

8, 2023).

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Br.       Opening brief filed by the defendant

ECF No.   Docket number citation in the district court

JA        Joint Appendix




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                           INTRODUCTION

     For the first time in our Nation’s history, a grand jury has charged

a former President with committing crimes while in office to overturn an

election that he lost. In response, the defendant claims that to protect

the institution of the Presidency, he must be cloaked with absolute

immunity from criminal prosecution unless the House impeached and the

Senate convicted him for the same conduct. He is wrong. Separation-of-

powers principles, constitutional text, history, and precedent all make

clear that a former President may be prosecuted for criminal acts he

committed while in office—including, most critically here, illegal acts to

remain in power despite losing an election.

     The Presidency plays a vital role in our constitutional system, but

so does the principle of accountability for criminal acts—particularly

those that strike at the heart of the democratic process. Rather than

vindicating our constitutional framework, the defendant’s sweeping

immunity claim threatens to license Presidents to commit crimes to

remain in office. The Founders did not intend and would never have

countenanced such a result.      And multiple safeguards—ultimately




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enforced by the Article III courts—protect against any potential burdens

on the Presidency that the defendant claims to fear.

     The defendant asserts (Br.1) that this prosecution “threatens . . . to

shatter the very bedrock of our Republic.” To the contrary: it is the

defendant’s claim that he cannot be held to answer for the charges that

he engaged in an unprecedented effort to retain power through criminal

means, despite having lost the election, that threatens the democratic

and constitutional foundation of our Republic. This Court should affirm

and issue the mandate expeditiously to further the public’s—and the

defendant’s—compelling interest in a prompt resolution of this case.

                   JURISDICTIONAL STATEMENT

     The district court entered its order on December 1, 2023, and the

defendant filed a timely notice of appeal on December 7, 2023. JA.647-

48. This Court has jurisdiction under 28 U.S.C. § 1291 and the collateral-

order doctrine for the defendant’s claims that he is immune from

prosecution, Nixon v. Fitzgerald, 457 U.S. 731, 742-43 (1982), and that

double-jeopardy principles prevent his criminal prosecution, Abney v.

United States, 431 U.S. 651, 662-63 (1977).




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                    STATEMENT OF THE ISSUES

     I.    Whether the defendant is immune from federal prosecution

for crimes committed while he served as President of the United States.

     II.   Whether the defendant’s impeachment in the House followed

by acquittal in the Senate precludes his criminal prosecution.

                     STATEMENT OF THE CASE

I.   Factual and Procedural Background

     The defendant lost the 2020 presidential election. Nonetheless,

according to a later grand jury indictment, in the weeks following the

election, he conspired to use knowingly false claims of election fraud with

the goal of overturning the legitimate results of that election and

disenfranchising millions of voters. The conspiracies culminated in an

attack on the United States Capitol on January 6, 2021, when both

Houses of Congress met to certify the Presidential election results, in

accordance with procedures set out in the Constitution and federal law.

A violent mob forced past police officers and into the Capitol building,

causing Members of Congress and the Vice President to flee, delaying the

certification, and leaving “multiple people dead, injur[ing] more than 140

people, and inflict[ing] millions of dollars in damage to the Capitol.”

Trump v. Thompson, 20 F.4th 10, 15 (D.C. Cir. 2021).

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     Five days later, the United States House of Representatives

adopted a single-article resolution to impeach the defendant for high

crimes and misdemeanors for violating his “constitutional oath faithfully

to execute the office of President of the United States . . . by inciting

violence against the Government of the United States.” H.R. Res. 24,

117th Cong. (Jan. 11, 2021). The House impeached the defendant, and

after the defendant’s term in office ended, a trial was held in the Senate,

where the defendant contended that the Senate lacked jurisdiction to try

him. See In re Impeachment of Former President Donald J. Trump, Trial

Memorandum of Donald J. Trump, S. Doc. 117-2 at 122-39 (Feb. 8, 2021).

On February 13, 2021, 57 Senators voted to convict, and 43 Senators

voted to acquit, 167 Cong. Rec. S733 (daily ed. Feb. 13, 2021), resulting

in an acquittal, see U.S. Const. art. I, § 3, cl. 6 (two-thirds majority

required for impeachment conviction).

     On August 1, 2023, a grand jury charged the defendant in a four-

count indictment. JA.24-68. Count One, which charges a conspiracy to

defraud the United States, in violation of 18 U.S.C. § 371, alleges that

the defendant, then a candidate seeking re-election to the Presidency,

conspired with, among others, several individuals outside the Executive



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Branch to “overturn the legitimate results of the 2020 presidential

election by using knowingly false claims of election fraud to obstruct the

federal government function by which those results are collected,

counted, and certified.” JA.24-26. The indictment further alleges that

the defendant aimed at accomplishing the conspiracy’s objectives in five

ways: using deceit toward state officials to subvert the legitimate election

results in their respective states, id. at 32-44; using deceit to organize

fraudulent slates of electors in seven targeted states, and cause them to

send false certificates to Congress, id. at 44-50; leveraging the

Department of Justice to use deceit to get state officials to replace the

legitimate electoral slates with electors who would cast their votes for the

defendant, id. at 50-54; attempting to enlist the Vice President to

fraudulently alter the election results during the certification proceeding

on January 6, 2021, and directing supporters to the Capitol to obstruct

the proceeding, id. at 55-62; and exploiting the violence and chaos that

transpired at the United States Capitol on January 6, 2021, id. at 62-65.

Counts Two and Three, which incorporate allegations from Count One,

charge conspiracy and substantive violations of 18 U.S.C. § 1512(c)(2) for

corruptly obstructing the certification of the Presidential election results



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on January 6, 2021.       Id. at 66-67.     Count Four, which likewise

incorporates the allegations from Count One, alleges that the defendant

conspired to violate one or more person’s constitutional right to vote and

have one’s vote counted. Id. at 68.

      The district court scheduled the trial to begin on March 4, 2024.

JA.324.

II.   The District Court’s Order

      As relevant here, the defendant filed two pretrial motions to

dismiss the indictment. In one, he argued that he was immune for acts

within the “‘outer perimeter’” of his official Presidential responsibilities

and that the indictment’s allegations all fell within that outer perimeter.

JA.331-82. In another, he contended that the Impeachment Judgment

Clause and the Double Jeopardy Clause precluded his prosecution.

JA.437-67.

      The district court denied the defendant’s Presidential-immunity

and double-jeopardy motions. JA.599-646. The court explained that the

Constitution’s text, structure, and history supported the conclusion that

the defendant “may be subject to federal investigation, indictment,

prosecution, conviction, and punishment for any criminal acts



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undertaken while in office.”     JA.604-24.   The court “expresse[d] no

opinion” on whether any of the acts alleged in the indictment fell within

the “‘outer perimeter’” of the defendant’s Presidential responsibilities.

Id. at 628-29. The district court also rejected the defendant’s claims that

principles of double jeopardy or the Impeachment Judgment Clause

precluded his prosecution based on his acquittal at the Senate

impeachment proceeding. Id. at 636-42.

                      SUMMARY OF ARGUMENT

     I. The defendant, a former President, does not enjoy immunity from

federal prosecution for the offenses charged in this case.          Under

separation-of-powers analysis, the President’s unique constitutional

status provides immunity from civil liability for official conduct, see

Nixon v. Fitzgerald, 457 U.S. 731 (1982), but it does not render a former

President immune from criminal liability when charged with violations

of generally applicable federal criminal statutes. Any burdens of post-

Presidency criminal liability have minimal impact on the functions of an

incumbent and are outweighed by the paramount public interest in

upholding the rule of law through federal prosecution. Constitutional

text, historical practice, and other immunity doctrines confirm that



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conclusion.      The Impeachment Judgment Clause limits Congress’s

remedies to removal and disqualification from office and thereby

prevents the Senate from imposing criminal punishment. But it does not

make conviction at a Senate trial a condition precedent to criminal

prosecution, which serves a function distinct from impeachment and

removal.      No historical materials support the defendant’s broad

immunity claim, and the post-Presidency pardon that President Nixon

accepted reflects the consensus view that a former President is subject to

prosecution after leaving office.     Nor can Presidential immunity be

derived by analogy to the Speech or Debate Clause, U.S. Const. art. I, § 6,

cl. 1; that textually explicit provision is defined and limited by its unique

history. More apt is the immunity for judges and prosecutors, who are

immune from civil liability for official conduct, but not from federal

prosecution.

      The defendant does not advance a position short of absolute

immunity for conduct that he describes, at a high level of generality, as

official acts.    But even assuming the Court wished to reserve the

possibility of some narrower constitutional protection for former

Presidents       from   prosecution   for   conduct   essential   to   their



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“constitutionally assigned functions,” Nixon v. Adm’r of Gen. Servs., 433

U.S. 425, 443 (1977), such a doctrine would have no application to the

defendant, who is alleged to have conspired with private individuals and

government officials to use fraudulent means to thwart the transfer of

power and remain in office. And even if a former President could claim

immunity from criminal prosecution commensurate with his immunity

from civil damages liability for official conduct, dismissal would be

unwarranted because the indictment contains substantial allegations of

a plot to overturn the election results that fall well outside the outer

perimeter of official Presidential responsibilities.

     II. The defendant’s acquittal at an impeachment trial does not bar

this prosecution under either the Impeachment Judgment Clause or

principles of double jeopardy. The Impeachment Judgment Clause limits

congressional sanctions for impeachment to removal and disqualification

from office; it does not create a double-jeopardy prohibition that protects

an impeached but not convicted officer from criminal prosecution.

Structural    considerations—including       the       special   function   of

impeachment within the constitutional separation of powers and the

many distinctions between impeachment and criminal verdicts—



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reinforce the conclusion that the Impeachment Judgment Clause permits

prosecution of a former President impeached by the House but acquitted

by the Senate. Nor is the prosecution here barred by double-jeopardy

principles. Because the only remedies available in the impeachment

proceedings were removal and disqualification, the defendant was never

previously placed in jeopardy.    But even if he were, the indictment

charges different offenses than were at issue in his impeachment.

                       STANDARD OF REVIEW

     The defendant’s Presidential-immunity and double-jeopardy claims

are legal claims that this Court reviews de novo. See Lash v. Lemke, 786

F.3d 1, 5 (D.C. Cir. 2015) (immunity); United States v. McCallum, 721

F.3d 706, 709 (D.C. Cir. 2013) (double jeopardy). In reviewing those

claims, the Court “assumes the truth” of the “factual allegations” in the

indictment. United States v. Ballestas, 795 F.3d 138, 149 (D.C. Cir.

2015).

                              ARGUMENT

     The defendant argues that Presidential immunity and principles of

double jeopardy warrant dismissal of the indictment. Those arguments

lack support in the separation of powers, constitutional text, history, or

precedent. Both arguments also threaten to undermine democracy. The

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defendant’s immunity claim implies that a President may use any means

necessary to remain in power and evade federal criminal liability for his

conduct unless first impeached and convicted. And his invocation of

double-jeopardy principles implies that a Senate acquittal of a former

President because he is no longer in office forever insulates him from

criminal accountability.    Those claims draw no support from our

constitutional heritage and, if accepted, would damage bedrock principles

of equality before the law. The Court should affirm.

I.   The Defendant Has No Immunity from Federal Criminal
     Prosecution.

     An individual who has served as President but is no longer in office

may face investigation, indictment, trial, and, if convicted, punishment

for conduct committed during the Presidency. The President stands

alone in the constitutional firmament, but legal principles and historical

evidence establish that, once out of office, a former President may face

federal criminal prosecution like any other citizen.1 See United States v.

Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (“[T]he President is elected from


     1  This brief addresses only a federal criminal prosecution.
Prosecution by a state or local entity would raise separate questions
under the Constitution’s Supremacy Clause, U.S. Const. art. VI, cl. 2. See
JA.616.

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the mass of the people, and, on the expiration of the time for which he is

elected, returns to the mass of the people again.”). Neither the separation

of powers, constitutional text, historical practice, nor other immunity

doctrines support a contrary rule, and its acceptance would violate the

fundamental principle that no one in this country, not even the President,

is above the law.

      A.     Separation-of-powers analysis provides no support for
             immunizing a former President from federal criminal
             prosecution.

      Although the Supreme Court has not squarely addressed an

incumbent or former President’s amenability to criminal prosecution, it

has consistently rejected claims that a President is immune from

criminal process, even while recognizing some immunity from civil

liability.   See infra at 17, 19.   In this line of cases, the governing

separation-of-powers analysis considers (1) whether a congressionally

imposed limitation on Presidential action “prevents the Executive

Branch from accomplishing its constitutionally assigned functions,” and

(2), if the “potential for disruption is present[,] . . . whether that impact

is justified by an overriding need to promote objectives within the

constitutional authority of Congress.” Nixon v. Adm’r of Gen. Servs., 433



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U.S. 425, 443 (1977). Contrary to the defendant’s contentions (Br.9-12,

21-25), that analysis does not support immunity of a former President

from federal criminal prosecution.

     1. The President of the United States “occupies a unique position

in the constitutional scheme.” Nixon v. Fitzgerald, 457 U.S. 731, 749

(1982). The Constitution vests the “executive Power” in the President,

id. (quoting U.S. Const. art. II, § 1), and entrusts him with commander-

in-chief, foreign-affairs, supervisory, and policy duties “of utmost

discretion and sensitivity.” Id. at 750. The President is “the only person

who alone composes a branch of government.” Trump v. Mazars USA,

LLP, 140 S. Ct. 2019, 2034 (2020); see also Seila Law LLC v. CFPB, 140

S. Ct. 2183, 2203 (2020). The President’s duties, however, do not operate

in a realm without law. They exist within a scheme of separated powers

in which Congress makes laws, U.S. Const. art. I; the President “shall

take Care that the Laws be faithfully executed,” id., art. II, § 3; and the

Article III courts exercise the judicial power to “say what the law is,”

Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803).

     The Founders were keenly aware that vesting executive power in a

single person carried with it unique risks of abuse. As James Madison



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explained, Congress’s composition as a multi-member body made it

implausible to “presume[] that all or even a majority of the members . . .

would either lose their capacity for discharging, or be bribed to betray,

their trust,” given the “difficulty of acting in concert for purposes of

corruption.” 2 Records of the Federal Convention of 1787, at 66 (M.

Farrand ed. 1911). By contrast, because “the Executive Magistracy . . .

was to be administered by a single man, loss of capacity or corruption

was more within the compass of probable events, and either of them

might be fatal to the Republic.” Id.; see id. at 67 (Edmund Randolph

noting that “[t]he Executive will have great opportunitys [sic] of abusing

his power”). George Mason agreed that no man should “be above Justice,”

least of all he “who can commit the most extensive injustice.” Id. at 65.

     The defendant nevertheless advances the broad argument (Br.9-12)

that the separation of powers mandates immunity from any judicial

review of a President’s official acts. For that proposition, the defendant

invokes Marbury itself, wresting from context Chief Justice Marshall’s

statement that “[t]he acts of such an officer, as an officer, can never be

examinable by the courts.” Br.10 (quoting 5 U.S. (1 Cranch) at 166). But

the defendant’s reading of that language is at odds with Marbury itself,



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with subsequent decisions reviewing Presidential acts, and with the

defendant’s own argument.

     The defendant misconstrues Marbury as placing all Presidential

acts beyond judicial cognizance. In fact, the relevant passage of Marbury

addressed the reviewability of acts by Executive Branch officers in

general, not the President in particular, and Chief Justice Marshall

distinguished between “a mere political act, belonging to the executive

department alone, for the performance of which[] entire confidence is

placed by our constitution in the supreme executive,” 5 U.S. (1 Cranch)

at 164, and duties that the legislature imposes on an Executive Branch

officer, which “he is directed peremptorily to perform,” in which case “he

is so far the officer of the law; is amenable to the laws for his conduct;

and cannot at his discretion sport away the vested rights of others,” id.

at 166. Marbury stated that courts have “no power to control [executive]

discretion,” id. at 164 (emphasis added), but it reaffirmed that courts

unquestionably have power to review adherence to the law by Executive

Branch officers, id. at 168-71, which includes the President himself.

     Precedent from the founding era forward confirms that courts can

review Presidential acts. For example, in Little v. Barreme, 6 U.S. (2



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Cranch) 170 (1804) (Marshall, C.J.), the Supreme Court held that an

order by President Adams to seize certain vessels violated the

Nonintercourse Act and therefore was invalid. In Kendall v. United

States, 37 U.S. 524 (1838), the Court held that President Jackson’s order

forbidding a postmaster from paying a government contractor violated a

statutory requirement to pay the bill, explaining that “clothing the

President with a power entirely to control the legislation of congress”

would “paralyze the administration of justice.”    Id. at 613.   And in

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952), the Court

reviewed “whether the President was acting within his constitutional

power when he issued an order directing the Secretary of Commerce to

take possession of and operate most of the Nation’s steel mills.” Id. at

582; see Clinton v. Jones, 520 U.S. 681, 703 (1997) (citing Youngstown

for the observation that the Supreme Court has “long held that when the

President takes official action, the Court has the authority to determine

whether he has acted within the law”). Judicial review of Presidential

compliance with the law continues to the present. See, e.g., Trump v.

Hawaii, 138 S. Ct. 2392 (2018); Medellin v. Texas, 552 U.S. 491 (2008);

Dames & Moore v. Regan, 453 U.S. 654 (1981). And significantly here,



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courts have conclusively rejected Presidential claims of unreviewable

power to resist criminal process. See Trump v. Vance, 140 S. Ct. 2412,

2431 (2020); United States v. Nixon, 418 U.S. 683, 713 (1974); Nixon v.

Sirica, 487 F.2d 700, 709 (D.C. Cir. 1973) (en banc) (per curiam); Burr,

25 F. Cas. at 33-34.

     The defendant’s remaining authorities do not establish otherwise.

The defendant relies (Br.11-12, 30, 38) on a separate opinion in Franklin

v. Massachusetts, 505 U.S. 788 (1992), stating that “no court has

authority to direct the President to take an official act” but that judicial

review of Presidential action can nevertheless “be obtained in a suit

seeking to enjoin the officers who attempt to enforce the President’s

directive.” Id. at 826-29 (Scalia, J., concurring in part and concurring in

the judgment).     Nothing in Justice Scalia’s analysis supports the

defendant’s claim that a former President’s official acts are categorically

unreviewable—let alone that he is immune from federal criminal

prosecution.    Nor does the defendant’s citation (Br.11) to Story’s

Commentaries on the Constitution of the United States, ch. 37, § 1563

(1833), assist him; the Supreme Court has explained that Story “did not

specify the dimensions of the necessary immunity,” and it declined to



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treat Story’s statement as controlling or informative on the immunity

question before it. Clinton, 520 U.S. at 695 & n.23; see also JA.410-11

(explaining limited relevance of the passage in Story). Martin v. Mott,

25 U.S. 19, 32-33 (1827), dealt with the discretionary act of the President

to call forth the militia to repel an invasion—a far cry from the violations

of criminal law alleged here. And the ruling in Mississippi v. Johnson,

71 U.S. 475, 499 (1866), that the Court would not enjoin “the exercise of

Executive discretion” to enforce the Reconstruction Acts provides no

precedent for the assertion that courts are powerless to consider

allegations that a former President violated federal criminal laws while

in office.

      Finally, the defendant’s blanket claim that courts cannot review

Presidential acts is contradicted by his own position (Br.31) that “a

President may be prosecuted, but only if he is first impeached, tried, and

convicted by the U.S. Senate.”        That concession is fundamentally

inconsistent with his argument that criminal immunity is a functionally

mandated incident of the separation of powers. If courts can hear such

criminal cases, Presidential acts are plainly not beyond the reach of the

judiciary.   And nothing in the text or history of the Impeachment



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Judgment Clause gives a former President any immunity—let alone one

that vanishes only if he was impeached by the House and convicted by

the Senate. See infra at 30-36.

       2. The defendant’s invocation (Br.21-25) of “[p]olicy rooted in the

separation of powers” fares no better. In Fitzgerald, the Supreme Court

held that Presidential immunity from civil damages liability is a

“functionally mandated incident of the President’s unique office, rooted

in the constitutional tradition of the separation of powers.” 457 U.S. at

749.    The Court reasoned that separation of powers requires the

balancing of “the constitutional weight of the interest to be served against

the dangers of intrusion on the authority and functions of the Executive

Branch.” Id. at 754. Contrary to the defendant’s claim, such balancing

does not support the conclusion that a former President who was not

impeached and convicted enjoys immunity from criminal prosecution for

any acts that fall within the outer perimeter of his official duties.

       a. The defendant identifies (Br.21-24) several burdens that he

claims criminal liability would place on the Presidency. Each of those

burdens is overstated, and they do not, individually or collectively,




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outweigh the deeply rooted public interest in enforcing federal criminal

law.

       i.   The defendant’s suggestion (Br.22-23) that an incumbent

President would be inhibited by the prospect of future federal criminal

prosecution lacks any historical or empirical support. Since the founding,

every President has discharged the office’s demanding duties with the

knowledge that he could be impeached and separately “subject to

Indictment, Trial, Judgment and Punishment, according to Law.” U.S.

Const. art. II, § 4; id. at art. I, § 3, cl. 7. Even under the defendant’s view,

the prospect of impeachment and prosecution has existed throughout our

Nation’s history, and it has never been thought to deter the sort of “bold

and unhesitating action,” Fitzgerald, 457 U.S. at 745, that the Presidency

requires.    Indeed, the Executive Branch and multiple Presidents,

including the defendant, have consistently acknowledged that any

criminal immunity ends once a President leaves office. See United States

v. Nixon, Nos. 73-1766, 73-1834, Br. of Respondent, 1974 WL 174855, at

*98 (June 21, 1974) (President may “be indicted after he leaves office at

the end of his term or after being ‘convicted’ by the Senate in an

impeachment proceeding”); Trump v. Vance, No. 19-635, Br. of



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Petitioner, 2020 WL 528038, at *16, *33 (Jan. 27, 2020) (emphasizing

that the temporary immunity the defendant here sought in that case

“would expire when the President leaves office” and therefore would not

“place the President ‘above the law’”); see also Randolph D. Moss, A

Sitting President’s Amenability to Indictment and Criminal Prosecution,

24 Op. O.L.C. 222, 255 (Oct. 16, 2000) (a President may be prosecuted

“once [his] term is over or he is otherwise removed from office by

resignation or impeachment”); Robert G. Dixon, Jr., Amenability of the

President, Vice President and other Civil Officers to Federal Criminal

Prosecution while in Office, at 4-5 (Sept. 24, 1973) (“Amenability of the

President”) (rejecting as “unreasonable” the claim that “an offending

federal officer acquires a lifetime immunity against indictment unless

the Congress takes time to impeach him”). And to the extent that any

concern about chilling the President is implicated, the prospect of future

criminal prosecution for knowingly criminal acts can have a salutary, not

a chilling, effect. See Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982)

(“Where an official could be expected to know that certain conduct would

violate statutory or constitutional rights, he should be made to

hesitate.”).



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     ii. The concern that a former President subject to civil suit could

become “an easily identifiable target” for “highly intrusive” private

lawsuits from “countless people,” Fitzgerald, 457 U.S. at 753, 756, or

“vexatious” civil actions (Br.23-24) does not translate to the criminal

context. Cf. Trump v. Vance, No. 19-635, Reply Br. of Petitioner, 2020

WL 1643779, at *14 (Mar. 27, 2020) (“The concern about an avalanche of

criminal subpoenas targeting the President is not present in federal

court.”). The Supreme Court has long applied a strong presumption of

prosecutorial regularity because prosecutors exercise a “special province”

of executive power derived from authority stemming from Article II. See

United States v. Armstrong, 517 U.S. 456, 464 (1996) (absent “clear

evidence to the contrary, courts presume that [prosecutors] have properly

discharged their official duties.”) (quoting United States v. Chemical

Foundation, Inc., 272 U.S. 1, 14-15 (1926)). Unlike a civil lawsuit, a

federal felony prosecution of a former President requires an indictment

by a grand jury, U.S. Const. amend. V, which is “prohibited from

engaging in ‘arbitrary fishing expeditions’ and initiating investigations

‘out of malice or an intent to harass,’” Vance, 140 S. Ct. at 2428 (quoting

United States v. R. Enterprises, Inc., 498 U.S. 292, 299 (1991)); see A



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Sitting President’s Amenability to Indictment and Criminal Prosecution,

24 Op. O.L.C. at 250 (noting that a criminal indictment “is a public rather

than private allegation of wrongdoing reflecting the official judgment of

a grand jury acting under the general supervision of the District Court”). 2

     Article III courts, moreover, can address any legally defective

prosecutions. Former Presidents “enjoy the same protection as do all

citizens from vindictive [or selective] prosecution,” 3 United States v.

Hastings, 681 F.2d 706, 711 (11th Cir. 1982), and courts could be

expected to review a former President’s claims—as have been made here

(ECF No. 116)—“meticulous[ly],” Vance, 140 S. Ct. 2430 (quoting Nixon,




     2 That the Department of Justice and others (   see Br.29, 34-35) have
concluded that prosecuting a sitting President would constitute an
“‘unavoidably political’ task” (citation omitted) reflects the view that
prosecution would seriously interfere with a President’s ability “to carry
out his constitutional functions,” and thus would be tantamount to
removal from office. A Sitting President’s Amenability to Indictment and
Criminal Prosecution, 24 Op. O.L.C. at 246, 258. But that consideration
is inapplicable to a former President, as the defendant acknowledges.
See Br.29 (certain “burdens” on a sitting President “naturally . . . do not
apply to a former President”).
     3 As the defendant has noted, the specter of a politically motivated

prosecution “is diminished at the federal level” and is unlikely to “deter[]”
a President “from vigorously fulfilling the responsibilities of his office.”
Trump v. Vance, No. 19-635, Reply Br. of Petitioner, 2020 WL 1643779,
at *14 (Mar. 27, 2020).

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418 U.S. at 702). Similarly, to the extent the defendant believes (Br.32-

33) that the charged offenses reflect “novel” and unsound interpretations

of the relevant statutes or the improper criminalization of “core political

speech and advocacy,” he can challenge the indictment on that basis—as

he has, JA.437-67.

     Complementing those protections are the rigorous standards to

prove criminal offenses and evidentiary limitations that would come into

play with respect to any prosecution of a former President. See 167 Cong.

Rec. S607 (daily ed. Feb. 9, 2021) (the defendant arguing at his

impeachment trial that criminal investigation and prosecution would be

more “appropriate” than impeachment, because trial in the Senate “does

not and cannot offer the safeguards of the judicial system”). Unlike in

private civil actions, the government in a federal prosecution must prove

the defendant’s guilt beyond a reasonable doubt to a unanimous jury.

United States v. Gaudin, 515 U.S. 506, 510 (1995). Proving a former

President’s criminal guilt will often require satisfying that standard with

respect to demanding mens rea elements.          Here, for example, the

Government must prove that the defendant conspired to obstruct a lawful

government    function    through    deceitful   and   dishonest   means,



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Hammerschmidt v. United States, 265 U.S. 182, 188 (1924); conspired to

corruptly obstruct and corruptly obstructed a congressional proceeding,

United States v. Robertson, 86 F.4th 355, 366-68 (D.C. Cir. 2023); and

conspired to “act in open defiance or in reckless disregard of a

constitutional requirement which has been made specific and definite,”

Screws v. United States, 325 U.S. 91, 105 (1945) (plurality opinion), with

the “specific intent to interfere with the federal rights in question,”

Anderson v. United States, 417 U.S. 211, 223 (1974). And to obtain

certain evidence to establish whether a former President had a culpable

mens rea, the Government must—as it already has in this case—seek

relief from the court to overcome any claim of executive privilege. See

Nixon, 418 U.S. at 713; In re Sealed Case, 121 F.3d 729, 754 (D.C. Cir.

1997). These formidable safeguards counsel strongly against the need to

extend a former President’s civil immunity to the criminal context.

     b. The overriding interest at stake in this case, as in any federal

prosecution, is upholding the rule of law, and the immunity the defendant

advocates would undermine that critical interest.

     i. As the district court correctly concluded, JA.618-24, permitting

this case to proceed would “vindicate the public interest in an ongoing



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criminal prosecution.”     Fitzgerald, 457 U.S. at 754; see JA.619

(explaining that Fitzgerald was “undivided in contemplating that the

public interest could require a former President’s criminal liability”).

Most fundamentally, the broad immunity the defendant advocates would

undermine the principle that “[n]o man in this country is so high that he

is above the law.” United States v. Lee, 106 U.S. 196, 220 (1882). That

principle extends to “[a]ll the officers of the government, from the highest

to the lowest,” and requires that “every man who by accepting office

participates in its functions is only the more strongly bound to submit to

that supremacy.” Id.; see United States v. Rayburn House Off. Bldg., 497

F.3d 654, 672-73 (D.C. Cir. 2007) (Henderson, J., concurring in the

judgment) (“[T]he laws of this country allow no place or employment as a

sanctuary for crime.”) (citing Williamson v. United States, 207 U.S. 425,

439 (1908)). And the principle that no one is above the law “applies, of

course, to a President.”    Vance, 140 S. Ct. at 2432 (Kavanaugh, J.,

concurring).

     The greater public interest in criminal rather than civil matters “is

not just a matter of formalism.” Cheney v. U.S. Dist. Court for Dist. of

Columbia, 542 U.S. 367, 384 (2004). Although the interests at stake in



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civil litigation are “far from negligible,” id., the courts’ “primary

constitutional duty” is “to do justice in criminal prosecutions,” Nixon, 418

U.S. at 707.    The Supreme Court in Nixon emphasized that “our

historic[al] commitment to the rule of law . . . is nowhere more profoundly

manifest than in our view that ‘the twofold aim (of criminal justice) is

that guilt shall not escape or innocence suffer.’” Id. at 708-09 (quoting

Berger v. United States, 295 U.S. 78, 88 (1935)). Extending immunity

recognized for a former President in civil cases to the “much weightier”

criminal context, Cheney, 542 U.S. at 384, would undermine that bedrock

commitment to the rule of law.

     ii. Bestowing far-reaching immunity from criminal prosecution on

a former President would also expose the Nation to dangerous risks.

Under the defendant’s view, unless a former President had been first

impeached and convicted, he would be wholly immune from criminal

prosecution for acts ostensibly within the outer perimeter of his official

duties even when those acts are crimes that benefit him, endanger the

Republic, or both. A former President could thus bank on the practical

obstacles to impeachment (a remedy designed to remove, not hold

criminally accountable, a corrupt officer) to provide a safe harbor



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insulating him from prosecution once he has left office. See infra at 30-

36 (explaining why such a view misinterprets the constitutional

impeachment system). Immunity from criminal prosecution would be

particularly dangerous where, as here, the former President is alleged to

have engaged in criminal conduct aimed at overturning the results of a

Presidential election to remain in office beyond the allotted term. A

President who unlawfully seeks to retain power through criminal means

unchecked by potential criminal prosecution could jeopardize both the

Presidency itself and the very foundations of our democratic system of

governance.

     The implications of the defendant’s broad immunity theory are

sobering. In his view, a court should treat a President’s criminal conduct

as immune from prosecution as long as it takes the form of

correspondence with a state official about a matter in which there is a

federal interest, a meeting with a member of the Executive Branch, or a

statement on a matter of public concern. That approach would grant

immunity from criminal prosecution to a President who accepts a bribe

in exchange for directing a lucrative government contract to the payer; a

President who instructs the FBI Director to plant incriminating evidence



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on a political enemy; a President who orders the National Guard to

murder his most prominent critics; or a President who sells nuclear

secrets to a foreign adversary, because in each of these scenarios, the

President could assert that he was simply executing the laws; or

communicating with the Department of Justice; or discharging his

powers as Commander-in-Chief; or engaging in foreign diplomacy.

Under the defendant’s framework, the Nation would have no recourse to

deter a President from inciting his supporters during a State of the Union

address to kill opposing lawmakers—thereby hamstringing any

impeachment proceeding—to ensure that he remains in office unlawfully.

See Blassingame v. Trump, 87 F.4th 1, 21 (D.C. Cir. 2023) (President’s

delivery of the State of the Union address is an official act). Such a result

would severely undermine the compelling public interest in the rule of

law and criminal accountability.

     B.    Constitutional text, historical practice, and other immunity
           doctrines do not support the defendant’s contrary claim.

     The defendant contends (Br.12-21) that constitutional text,

historical practice, and other immunity doctrines support his broad claim

of post-Presidential immunity. None does.




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      1. Unlike the explicit textual immunity granted to legislators under

the Speech or Debate Clause, U.S. Const. art. I, § 6, cl. 1, which provides

that “for any Speech or Debate in either House,” members of Congress

“shall not be questioned in any other Place,” the Constitution does not

expressly provide such protection for the President or any executive

branch officials. See Vance, 140 S. Ct. at 2434 (Thomas, J., dissenting)

(“The text of the Constitution explicitly addresses the privileges of some

federal officials, but it does not afford the President absolute immunity.”);

JA.604-06. By contrast, state constitutions at the time of the founding in

Virginia and Delaware did grant express criminal immunity to the state’s

chief executive officer. JA.605 (citing Saikrishna Bangalore Prakash,

Prosecuting and Punishing Our Presidents, 100 Tex. L. Rev. 55, 69

(2021)). To be sure, the federal Constitution’s “silence . . . on this score is

not dispositive,” Nixon, 418 U.S. at 705 n.16, but that silence is telling

when placed against the Constitution’s Impeachment Judgment Clause,

which presupposes and expressly preserves the availability of criminal

prosecution following impeachment and conviction. See U.S. Const. art.

I, § 3, cl. 7.   Where a President—or any federal officer—has been

impeached by the House and convicted at an impeachment trial in the



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Senate, the Impeachment Judgment Clause provides that the

punishment for such impeachment and conviction “shall not extend

further than to removal from Office, and disqualification to hold and

enjoy any Office of honor, Trust or Profit under the United States: but

the Party convicted shall nevertheless be liable and subject to

Indictment, Trial, Judgment and Punishment, according to Law.” Id.

Nothing in that Clause conditions prosecution on prior impeachment.

See infra at 33-35. And it would be incongruous to conclude that the

Constitution contains any implicit form of immunity from criminal

prosecution for a former President when the Constitution expressly

states that a former President may be subject to criminal prosecution

after impeachment by the House and conviction by the Senate.

     The constitutional impeachment system explains why no such

implicit immunity exists. Under the Constitution, a President is subject

to impeachment and Senate conviction for, among other things, “high

crimes and misdemeanors.”      U.S. Const. art. II, § 4 (capitalization

altered). The phrase “high crimes and misdemeanors” was aimed at the

“misconduct of public men,” including the “abuse or violation of some

public trust.” Federalist No. 65, at 364 (Alexander Hamilton) (Clinton



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Rossiter ed., 1999). In that respect, “high crimes and misdemeanors”

were principally offenses that “may with peculiar propriety be

denominated POLITICAL, as they relate chiefly to injuries done

immediately to the society itself.”         Id.; accord 2 Joseph Story,

Commentaries on the Constitution of the United States § 783 (1833)

(noting that the “offences, to which the remedy of impeachment has been,

and will continue to be principally applied, are of a political nature”). The

conduct that impeachment targets includes “acts taken in [the

President’s] ‘public character’—that is, official acts[.]” Clinton, 520 U.S.

at 696. Thus, the Constitution explicitly permits the impeachment and

conviction of a President for official conduct taken in his public role and

likewise explicitly provides for an impeached and convicted President’s

criminal prosecution for the same conduct. Given that, the Constitution

cannot be understood simultaneously (and implicitly) to immunize a

former President from criminal prosecution for official acts; rather, the

Constitution envisions Presidential accountability in his political

capacity through impeachment and in his personal capacity through

prosecution. See Clinton, 520 U.S. at 696 (“[F]ar from being above the

laws, [the President] is amenable to them in his private character as a



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citizen, and in his public character by impeachment.”) (quoting 2 J. Elliot,

Debates on the Federal Constitution 480 (2d ed. 1863) (James Wilson)).

     The defendant’s contention (Br.12-13) that impeachment followed

by conviction is a condition precedent to criminal prosecution misreads

both Hamilton and Justice Alito’s dissenting opinion in Vance, supra.

Each made the undisputed point that a President must leave office before

any prosecution may commence. See Vance, 140 S. Ct. 2412, 2444-45

(Alito, J., dissenting) (citing Hamilton’s essays in Federalist Nos. 69 and

77 in support of the proposition that “[b]oth the structure of the

Government established by the Constitution and the Constitution’s

provisions on the impeachment and removal of a President make it clear

that the prosecution of a sitting President is out of the question”). Thus,

if Congress declines to “impeach and remove” a sitting President, he

cannot face criminal prosecution “until his term in office expires.” Brett

M. Kavanaugh, The President and the Independent Counsel, 86 Geo. L.J.

2133, 2161 (1998); accord A Sitting President’s Amenability to

Indictment and Criminal Prosecution, 24 Op. O.L.C. at 255.

     If, by contrast, the defendant’s condition-precedent theory were

correct, criminal investigations and prosecutions of any federal official—



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not just a former President 4—would give rise to complex preliminary

questions such as whether the suspect was an “officer” subject to

impeachment, whether the conduct in question amounted to “Treason,

Bribery, or other high Crimes and Misdemeanors,” U.S. Const. art. II,

§ 4, and whether Congress had jurisdiction over someone who had left

office. It would also require Congress to expend significant resources to

impeach and convict all officers—even those who had left office—before

criminal proceedings could commence. An approach that “injects such

complications into criminal proceedings,” Amenability of the President,

at 7, and “pressure[s] Congress to conduct a large number of

impeachment proceedings,” id. at 17, could not be correct, as the history

of prosecutions preceding impeachments demonstrates, see Nixon v.

United States, 506 U.S. 224, 226-27 (1993) (defendant-judge criminally

prosecuted and then impeached); Hastings v. United States Senate, 716

F. Supp. 38, 41 (D.D.C. 1989) (same); see also Amenability of the



     4 The Constitution’s text undermines the defendant’s suggestion
(Br.52 n.6) that the Impeachment Judgment Clause operates differently
for Presidents. The Framers provided in the preceding clause that at a
President’s impeachment trial (and only at such a trial), the Chief Justice
presides, art. I, § 3, cl. 6, but provided no special Presidential
dispensation in the Impeachment Judgment Clause.

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President, at 4 (observing that, as of 1973, although only 12

impeachments had occurred, “scores, if not hundreds, of officers of the

United States have been subject to criminal proceedings for offenses for

which they could have been impeached”).

     The defendant’s argument (Br.13-14; see also id. at 29-30) that

impeachment is the “principal check” for Presidential “malfeasance” is

also incorrect.   Hamilton’s description of the impeachment process

supports the constitutional difference between the political means of

removing an official from office and the legal means of holding an official

accountable for violations of law. See Federalist No. 65. As Hamilton

recognized, impeachment proceedings may “agitate the passions of the

whole community” and “divide it into parties more or less friendly or

inimical.” Id. at 364. Because the Framers recognized that “partisanship

and transitory political passions” could induce the Senate to convict or to

acquit, see Randolph D. Moss, Whether a Former President May Be

Indicted and Tried for the Same Offenses for Which He was Impeached

by the House and Acquitted by the Senate, 24 Op. O.L.C. 110, 134 (Aug.

18, 2000), they decoupled the judgment at an impeachment trial from

criminal prosecution.   Understood in that context, the Impeachment



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Judgment Clause reflects the “separate and different roles for the

executive’s power of prosecution and the legislature’s impeachment

powers.”   Hastings, 716 F. Supp. at 42. Moreover, conditioning the

Executive Branch’s exclusive authority to prosecute a former President—

or any federal officer—on congressional impeachment and removal would

“raise serious separation of powers concerns.” JA.611 n.3.

     2.    Historical evidence from the time of the founding likewise

confirms that a President was subject to prosecution when no longer in

office. See JA.624-27. Hamilton explained that an impeachment would

not “terminate the chastisement of the offender” because “[a]fter having

been sentenced to a perpetual ostracism from the esteem and confidence,

and honors and emoluments of his country, he will still be liable to

prosecution and punishment in the ordinary course of law.” Federalist

No. 65, at 367; see id. at No. 69, at 384 (Hamilton); id. at No. 77

(Hamilton), at 432 (noting that the President is “at all times liable to

impeachment, trial, [and] dismission from office” as well as “forfeiture of

life and estate by subsequent prosecution in the common course of law”).

Speaking at the North Carolina ratifying convention, James Iredell—

who later became a Supreme Court Justice—noted that “[i]f [the



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President] commits any crime, he is punishable by the laws of his

country.” 4 Debates on the Constitution 109 (J. Elliot ed. 1891); see

Vance, 140 S. Ct. at 2435 (Thomas, J., dissenting) (discussing Iredell).

     The defendant advances two unpersuasive contentions that

historical practice in fact supports a rule of Presidential immunity from

criminal prosecution.      First, in adverting to (Br.14-15) “[e]arly

authorities,” the defendant repeats his flawed claim (id. at 9-12) that

decisions and other writings from Chief Justice Marshall and Justice

Story expounded a rule of unreviewable Presidential authority.         As

explained, that sweeping claim is unfounded.        See supra at 13-18.

Second, he notes that no former President has been criminally prosecuted

(see Br.17-18), but that reflects not a tradition of criminal immunity but

instead the fact that “most presidents have done nothing criminal,

making it difficult to draw inferences from the absence of arrests or

prosecutions.” Prakash, supra, at 82. In any event, the history is not as

uniform as the defendant suggests. President Ford’s pardon of former

President Nixon covering acts during the latter’s Presidency rested on

the assumption that no post-Presidency immunity from criminal

prosecution existed. See Gerald Ford, Presidential Statement at 7-8



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(Sept. 8, 1974) (granting former President Nixon a “full, free, and

absolute pardon . . . for all offenses against the United States which he,

Richard Nixon, has committed or may have committed or taken part in

during” his Presidency)5; Richard Nixon, Statement by Former President

Richard Nixon at 1 (Sept. 8, 1974) (former President accepting “full and

absolute pardon for any charges which might be brought against me for

actions taken during the time I was President of the United States”). 6

That President Nixon was named as an unindicted coconspirator in a plot

to defraud the United States and obstruct justice, Nixon, 418 U.S. at 687,

entirely refutes the defendant’s efforts (Br.27-28, 41) to distinguish that

case as involving private conduct. See United States v. Haldeman, 559

F.2d 31, 121-22 (D.C. Cir. 1976) (en banc) (per curiam) (explaining that

the offense conduct included efforts “to get the CIA to interfere with the

Watergate investigation being conducted by the FBI” and “to obtain

information concerning the investigation from the FBI and the

Department of Justice”) (internal quotation marks omitted).           And



     5     https://www.fordlibrarymuseum.gov/library/document/0067/
1563096.pdf.
     6     https://www.fordlibrarymuseum.gov/library/document/0019/
4520706.pdf.

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President Nixon’s acceptance of the pardon represents a “confession of

guilt.” Burdick v. United States, 236 U.S. 79, 90-91 (1915).

     3. The defendant also relies on legislative, judicial, and common-

law 7 immunities, but these other immunity doctrines lend no support to

the defendant’s Presidential-immunity claim.

     i.   The defendant suggests (Br.16-17, 18-19) that common-law

principles of legislative immunity embodied in the Speech or Debate

Clause, U.S. Const. art. I, § 6, cl. 1, inform the immunity analysis here,

but that suggestion lacks support in constitutional text, history, or

purpose. The Framers omitted any comparable text protecting executive

officials, see Vance, 140 S. Ct. at 2434 (Thomas, J., dissenting), and no

reason exists to look to the Speech or Debate Clause as a model for the

defendant’s immunity claim.

     In contrast to the defendant’s sweeping claim of immunity for all

Presidential acts within the outer perimeter of his duties, the Speech or



     7 The defendant separately discusses the common law (Br.16) and

legislative (id. at 18-19) immunities, but his discussion of the former
relies entirely on the latter. Any separate argument predicated on the
common law alone would fail because “the Presidency did not exist
through most of the development of common law.” Fitzgerald, 457 U.S.
at 748.

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Debate Clause’s scope is specific: it is limited to conduct “within the

‘sphere of legitimate legislative activity.’” Gravel v. United States, 408

U.S. 606, 624 (1972). “Legislative acts are not all-encompassing,” and

exclude a vast range of “acts in [a Member’s] official capacity,” such as

outreaches to the Executive Branch. Id.       Beyond that limitation, the

Clause “does not purport to confer a general exemption . . . from liability

. . . in criminal cases.” Id. at 626. Nor does it “privilege [Members or

aides] to violate an otherwise valid criminal law in preparing for or

implementing legislative acts.” Id. Courts have therefore recognized for

more than 200 years that a Representative “not acting as a member of

the house” is “not entitled to any privileges above his fellow-citizens” but

instead “is placed on the same ground, on which his constituents stand.”

Coffin v. Coffin, 4 Mass. 1, 28-29 (1808); see Rayburn House Off. Bldg.,

497 F.3d at 670 (Henderson, J., concurring in the judgment) (observing

that “it is well settled that a Member is subject to criminal prosecution

and process”). The Speech or Debate Clause does not “make Members of

Congress super-citizens, immune from criminal responsibility.” United

States v. Brewster, 408 U.S. 501, 516 (1972). The defendant’s immunity




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claim, however, would do just that, absent prior impeachment and

conviction.

     The Speech or Debate Clause’s historical origins likewise reveal its

inapplicability in the Presidential context. The Clause arose in response

to successive British kings’ use of “the criminal and civil law to suppress

and intimidate critical legislators.” United States v. Johnson, 383 U.S.

169, 178 (1966); see United States v. Gillock, 445 U.S. 360, 368-69 (1980)

(noting that the English parliamentary privilege arose from “England’s

experience with monarchs exerting pressure on members of Parliament”

in order “to make them more responsive to their wishes”).           In one

instance, the King “imprison[ed] members of Commons on charges of

seditious libel and conspiracy to detain the Speaker in the chair to

prevent adjournment,” and the judiciary afforded no relief because “the

judges were often lackeys of the Stuart monarchs.” Johnson, 383 U.S. at

181. That history has no parallel here: the defendant can point to no

record of abuses of the criminal law against former Presidents, and the

Article III judiciary provides a bulwark against any such abuses.

     ii. The defendant’s reliance (Br.19-20) on judicial immunity in fact

undermines his broad claim. Both in Fitzgerald, 457 U.S. at 746-48, 751-



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52, 758, and when subsequently describing Fitzgerald, see Vance, 140 S.

Ct. at 2426, the Supreme Court has repeatedly recognized the parallel

between Presidential immunity from civil damages liability and

comparable immunity for prosecutors and judges.          That parallel is

instructive   because    the   Supreme     Court   has   reasoned   that,

notwithstanding their absolute immunity from civil liability, prosecutors

and judges are “subject to criminal prosecutions as are other citizens.”

Dennis v. Sparks, 449 U.S. 24, 31 (1980) (discussing judges); see Imbler

v. Pachtman, 424 U.S. 409, 429 (1976) (observing, in a case holding that

prosecutors are absolutely immune from civil damages liability, that the

Supreme Court had “never suggested that the policy considerations

which compel civil immunity for certain governmental officials also place

them beyond the reach of the criminal law”); Mireles v. Waco, 502 U.S. 9,

9, 10 n.1 (1991) (per curiam) (“[A] judge is not absolutely immune from

criminal liability.”); Ex Parte Commonwealth of Virginia, 100 U.S. 339,

348 (1879); see also 28 U.S.C. § 364 (statute addressing the effect of a

federal judge’s felony conviction).

     Indeed, courts recognizing immunity from civil liability for certain

officials, such as judges and prosecutors, have operated from the premise



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that civil immunity did not erect an absolute shield for misconduct

precisely because those officials were subject to criminal prosecution. See

Imbler, 424 U.S. at 428-29 (“We emphasize that the immunity of

prosecutors from liability in suits under § 1983 does not leave the public

powerless to deter misconduct or to punish that which occurs.”); Gillock,

445 U.S. at 372-73 (“[T]he cases in this Court which have recognized an

immunity from civil suit for state officials have presumed the existence

of federal criminal liability as a restraining factor on the conduct of state

officials.”). The Supreme Court accordingly has “never held that the

performance of the duties of judicial, legislative, or executive officers,

requires or contemplates the immunization of otherwise criminal

deprivation of constitutional rights.” O’Shea v. Littleton, 414 U.S. 488,

503 (1974). “On the contrary, the judicially fashioned doctrine of official

immunity does not reach ‘so far as to immunize criminal conduct

proscribed by an Act of Congress.’” Id. (quoting Gravel, 408 U.S. at 627).

     The defendant’s counterarguments lack merit. He suggests (Br.19)

that Spalding v. Vilas, 161 U.S. 483 (1896), recognized judicial immunity

from criminal prosecution, but the language in Spalding, a civil case, was

dicta relying on a state case from 1810, see id. at 494 (discussing Yates



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v. Lansing, 5 Johns. 282 (N.Y. Sup. Ct. 1810), aff’d, 9 Johns. 395 (N.Y.

1811)), and is inconsistent with the Supreme Court’s more recent

pronouncements. Citing United States v. Chaplin, 54 F. Supp. 926 (S.D.

Cal. 1944), the defendant contends (Br.20-21) that criminal prosecutions

for judicial acts are “exceedingly rare” and limited to bribery cases. But

Chaplin—an out-of-circuit district court decision from nearly 80 years

ago that recognized “where a judge violates a criminal statute, he is held

to the same responsibility as any citizen,” 54 F. Supp. at 933—is

apparently the sole case that conferred immunity on a judge facing

criminal prosecution. See 54 F. Supp. at 934-35; see United States v.

Claiborne, 727 F.2d 842, 845 (9th Cir. 1984) (per curiam) (rejecting claim

of immunity from criminal prosecution by defendant-judge); Hastings,

681 F.2d at 710-11 (same); United States v. Isaacs, 493 F.2d 1124, 1143-

44 (7th Cir. 1974) (per curiam) (same). And contrary to the defendant’s

assertion, judges have long been criminally prosecuted for non-bribery

offenses. See, e.g., United States v. Aguilar, 515 U.S. 593, 602-06 (1995)

(upholding defendant-judge’s conviction for disclosure of wiretap

information); United States v. Collins, 972 F.2d 1385, 1392-94, 1415 (5th

Cir. 1992) (upholding defendant-judge’s convictions for, inter alia,



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obstruction of justice and conspiracy to defraud the United States);

United States v. Manton, 107 F.2d 834, 850 (2d Cir. 1939) (upholding

defendant-judge’s    convictions    for   conspiracy    to   obstruct    the

administration of justice and to defraud the United States). Those cases

establish the proposition, equally applicable to the defendant’s case, that

“[c]riminal conduct is not”—and can never be—“part of the necessary

functions performed by public officials.” Isaacs, 493 F.2d at 1144.

     C.    Even if separation-of-powers principles limited the federal
           prosecution of a former President in some unusual
           circumstances, those principles would not require dismissal
           here.

     Because a former President does not have the sort of sweeping

immunity the defendant advocates, the denial of his motion to dismiss

should be affirmed, and this case should proceed to trial.              That

straightforward conclusion would not, however, foreclose the possibility

that a future prosecution could raise difficult questions implicating

cognizable separation-of-powers concerns—if, for example, a prosecution

were to encroach on a President’s foreign-affairs or commander-in-chief

powers, or involve areas where the President’s powers are “both

‘exclusive’ and ‘conclusive’ on the issue.” Zivotofsky v. Kerry, 576 U.S. 1,




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10 (2015) (citing Youngstown Sheet & Tube, 343 U.S. at 637-38 (Jackson,

J., concurring)).

     If those concerns arise, courts can and should address them in the

same manner as other constitutional issues that arise in federal criminal

prosecutions. Like any other criminal defendant, a former President

could assert a constitutional challenge in the district court and could

couple that claim with any relevant President-specific objections to

liability.8 Any rulings could be reviewed on appeal from a final judgment.

Cf. United States v. Rostenkowski, 59 F.3d 1291, 1300 (D.C. Cir. 1995)

(where an indictment is “untainted” by “Speech or Debate material,” a

defendant can object “at such point(s) in the trial” that the government

seeks admission of any “protected material into evidence”); United States

v. Cisneros, 169 F.3d 763, 771 (D.C. Cir. 1999) (“[T]here will be time

enough in an appeal from the final judgment to vindicate the separation

of powers.”); accord In re al-Nashiri, 791 F.3d 71, 80 (D.C. Cir. 2015).




     8 Cf. David J. Barron, Office of Legal Counsel, Applicability of
Federal Criminal Laws and the Constitution to Contemplated Lethal
Operations Against Shaykh Anwar al-Aulaqi (July 16, 2010) (addressing
lawfulness of conduct where the President was acting pursuant to his
commander-in-chief powers).

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     In a truly “exceptional situation[],” a court could consider

recognizing a novel form of criminal immunity, if a defendant could

demonstrate that doing so would be “essential for the conduct of the

public business.”   Butz v. Economou, 438 U.S. 478, 507 (1978); see

Forrester v. White, 484 U.S. 219, 224 (1988). By necessity, however, any

such novel immunity would have to be narrower than the civil immunity

recognized in Fitzgerald, since it would need to “vindicate the public

interest in an ongoing criminal prosecution,” Fitzgerald, 457 U.S. at 754,

and reflect courts’ “primary constitutional duty . . . to do justice in

criminal prosecutions,” Nixon, 418 U.S. at 707, as opposed to the “lesser

public interest” at issue in a “merely private suit for damages,”

Fitzgerald, 457 U.S. at 754 & n.37.

     The Court need not address those issues here, however.            The

indictment alleges a conspiracy to overturn the presidential election

results, JA.26, through targeting state officials, id. at 32-44; creating

fraudulent slates of electors in seven states, id. at 44-50; leveraging the

Department of Justice in the effort to target state officials through deceit

and to substitute the fraudulent elector slates supporting his personal

candidacy for the legitimate ones, id. at 50-54; attempting to enlist the



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Vice President to fraudulently alter the election results during the

certification proceeding on January 6, 2021, and directing supporters to

the Capitol to obstruct the proceeding, id. at 55-62; and exploiting the

violence and chaos that transpired at the United States Capitol on

January 6, 2021, id. at 62-65. The indictment thus alleges conspiracies

to advance the defendant’s prospects as a candidate for elective office in

concert with private persons as well as government officials, cf.

Blassingame, 87 F.4th at 4 (the President’s conduct falls beyond the outer

perimeter of his official duties if it can only be understood as having been

undertaken in his capacity as a candidate for re-election), and the

defendant offers no plausible argument that the federal government

function and official proceeding that he is charged with obstructing

establish a role—much less an exclusive and conclusive role—for the

President, see Georgia v. Meadows, No. 23-12958, 2023 WL 8714992, at

*11 (11th Cir. Dec. 18, 2023); United States v. Rhodes, 610 F. Supp. 3d

29, 41 (D.D.C. 2022) (Congress and the Vice President in his role as

President of the Senate carry out the “laws governing the transfer of

power”) (internal quotation marks omitted). Just as the Constitution

“confers no power in the President to receive bribes,” Walter Dellinger,



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Application of 28 U.S.C. § 458 to Presidential Appointments of Federal

Judges, 19 Op. O.L.C. 350, 357 n.11 (Dec. 18, 1995), so too it does not

afford a President an unreviewable authority or license to conspire to

obstruct a federal governmental function through fraud and dishonesty,

conspire and attempt to obstruct a congressional proceeding, and

conspire to violate the constitutional rights of others.

     Accordingly, the prosecution here raises no separation-of-powers

concerns. To the contrary, a scheme to thwart the peaceful transfer of

power contradicts the most basic constitutional check on executive

abuses: A President comes to power by winning an election, not by

subverting the results of the vote. See U.S. Const. art. II, § 1, cls. 1, 2

(President “shall hold his office during the Term of four years” based on

an election carried out under the procedures set forth in the

Constitution). Whatever hypothetical concerns might arise in a future

case do not affect the outcome here.

     D.    Even if a former President were entitled to immunity from
           criminal prosecution comparable to his immunity from civil
           liability, dismissal is not warranted here.

     Dismissal is at a minimum unwarranted because the defendant has

no remotely viable claim that all of the indictment’s allegations involve



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acts “within the ‘outer perimeter’ of his official responsibility.”

Fitzgerald, 457 U.S. at 756. Rather, the indictment alleges substantial

conduct as a part of the charged conspiracies that goes well beyond any

plausible claim of official acts.    This Court has held that a “sitting

President running for a second term . . . is not carrying out the official

duties of the presidency” and thus “cannot qualify for official-act

immunity” when he acts “as [an] office-seeker, not office-holder.”

Blassingame, 87 F.4th at 4-5. A former President therefore is not entitled

to even civil immunity for acts done while in office that “viewed

objectively and in context may reasonably be understood only as re-

election campaign activity.” Id. at 21-22. Here, the defendant is alleged

to have conspired with and directed individuals outside the government

to facilitate his effort, as a candidate, to subvert the election results, see

JA.434, thus placing that conduct beyond the outer perimeter of

Presidential responsibilities.    The same is true for the allegations

describing the conspirators’ efforts to organize fraudulent electoral slates

and cause them to transmit false certificates to Congress in anticipation

of the certification proceeding on January 6, 2021. See JA.44-50. Again,

those alleged acts were carried out by and on behalf of the defendant in



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his capacity as a candidate, and the extensive involvement of private

attorneys and campaign staff in procuring the fraudulent slates as

alleged in the indictment underscores that those activities were not

within the outer perimeter of the office of the Presidency.            Cf.

Blassingame, 87 F.4th at 17 (“[A] sitting President, just like the

candidates he runs against, is subject to civil damages liability for his

actions constituting re-election campaign activity.”).       Because the

indictment’s allegations substantially fall outside the outer perimeter of

the president’s powers even under the broadest understanding of that

term, the remedy of dismissal is inappropriate.

     The     defendant’s     counterarguments       rest    entirely    on

mischaracterization of the indictment.      For example, the defendant

identifies (Br.42) one of the “five types of conduct” as his “public

statements and tweets about alleged fraud and irregularity in the federal

election.” That description glosses over the specific allegations about how

the defendant as a candidate used false statements to undermine the

election’s integrity, see supra at 5, and ignores that even if certain

statements were otherwise protected in isolation, “constitutionally

protected speech may nevertheless be an overt act in a conspiracy



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charge.” United States v. Donner, 497 F.2d 184, 192 (7th Cir. 1974); see

also Wisconsin v. Mitchell, 508 U.S. 476, 489 (1993) (“[A] defendant’s

previous declarations or statements [are] commonly admitted in criminal

trials subject to evidentiary rules dealing with relevancy, reliability, and

the like.”).

      Similarly,   the   defendant’s    conclusory   assertions   that   the

allegations involve his “official duties” rely on his recasting of what the

indictment in fact alleges. In his view, for example, the indictment

encompasses mere “communications with state officials,” Br.44, when the

actual allegations detail “knowingly false claims of election fraud aimed

at interfering with the ascertainment of and voting by” electors made by

the defendant and his coconspirators in several targeted states as part of

his campaign to retain the Presidency. See JA.24-26. The defendant’s

further claim to have been carrying out his “official duties” entirely

ignores that, as a “candidate for re-election,” id. at 24, he is alleged to

have conspired to “overturn the legitimate results of” a “presidential

election,” id. at 26, and to have done so with at least five others who had

absolutely no role in the federal government, including private attorneys

and a political consultant, id. at 26-27. While the defendant is presumed



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innocent and the Government will have to carry its burden to prove the

indictment’s allegations at trial, the defendant cannot reframe the

allegations into a version that more conveniently supports his legal

arguments.

II.   The Defendant’s Acquittal at an Impeachment Trial Does Not Bar
      This Prosecution.

      The defendant contends (Br.46-55) that the Impeachment

Judgment Clause and principles of double jeopardy supply an additional

barrier to his prosecution. That contention is incorrect.

      1. a.   As noted above, see supra at 30-36, the Impeachment

Judgment Clause’s two parts reflect its related objectives. The first

clause—which limits “Judgment in Cases of Impeachment” to removal

and disqualification, U.S. Const. art. I, § 3, cl. 7—empowers Congress to

impose a political sanction for removal without enabling the Legislative

Branch to exact criminal punishment. Ensuring that Congress could not

exact criminal penalties following impeachment distinguished the

American approach from Britain, where Parliament could impose “a wide

array of criminal penalties, including fines, imprisonment, and even

execution.” Randolph D. Moss, Whether a Former President May Be

Indicted and Tried for the Same Offenses for Which He Was Impeached


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by the House and Acquitted by the Senate, 24 Op. O.L.C. 110, 120 (Aug.

18, 2000). The second clause—which “nevertheless” subjects the officer

in question to “Indictment, Trial, Judgment and Punishment, according

to Law,” U.S. Const. art. I, § 3, cl. 7—clarifies that, although Congress

may not impose criminal punishment, the officer in question, including a

former President, is “liable to prosecution and punishment in the

ordinary course of law.” Federalist No. 69, at 384 (Hamilton). Read

together, those two clauses constrain the range of potential sanctions

available to Congress following impeachment but place no corresponding

limits beyond those prescribed “according to Law” on post-impeachment

criminal prosecution.    The clauses therefore preclude an impeached

officer from invoking his Senate conviction to bar his subsequent criminal

prosecution but do not suggest that the absence of a conviction provides

the officer with any sort of shield.

     That straightforward textual reading of the Impeachment

Judgment Clause finds ample historical support. For example, James

Wilson, a participant at the Constitutional convention and later a

Supreme Court Justice, responded in the 1787 Pennsylvania ratification

convention to the argument that the Senate would be unlikely to impeach



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and remove through Senate conviction fellow Senators by observing that,

“Though they may not be convicted on impeachment before the Senate,

they may be tried by their country; and if their criminality is established,

the law will punish.”9 2 The Documentary History of the Ratification of

the Constitution 492 (Merrill Jensen et al., eds. 1976). Similarly, Edward

Pendleton, who served as President of the Virginia Supreme Court and

the Virginia ratifying convention, observed in a letter to James Madison

that the impeachment power “is in the hands of the House of

Representatives, who will not use it in the case Supposed, or if they do,

and meet the obstruction, may yet resort to the courts of Justice, as an

Acquital [sic] would not bar that remedy.” See id. at 1773 (Letter from

Edmund Pendleton to James Madison, Oct. 8, 1787). And that view was

likewise shared by Representative Samuel Dana, a participant in the

first federal impeachment trial—of Senator William Blount of Tennessee

in 1798—who observed that an impeachment conviction “has no



     9 The defendant’s citation (Br.51) to Wilson’s statement that a
President is “amenable” to the laws in “his private character as a citizen”
supports the conclusion that a former President enjoys no immunity from
criminal prosecution in his personal capacity and is entirely consistent
with Wilson’s view at the Pennsylvania ratification convention and not
inconsistent with Hamilton’s views. See infra at 60-61.

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connexion [sic] with punishment or crime, as, whether a person tried

under an impeachment be found guilty or acquitted, he is still liable to a

prosecution at common law.” 9 Annals of Congress 2475 (1798).

     The defendant’s dismissal (Br.48-49) of Justice Joseph Story’s view

as “baseless” is unmerited.     Story explained that the Constitution

separated an impeachment trial (with its exclusive remedies of removal

and disqualification) from a trial “in the common tribunals of justice” to

ensure that “a second trial for the same offence could be had, either after

an acquittal, or a conviction in the court of impeachments.” 2 Joseph

Story, Commentaries on the Constitution of the United States §§ 780-81

(1833). Otherwise, “if no such second trial could be had, then the grossest

official offenders might escape without any substantial punishment, even

for crimes, which would subject their fellow citizens to capital

punishment.”    Id. at § 780.     That observation remains true—and

unrebutted—today.

     b. Two structural considerations bolster the textual and historical

evidence demonstrating that the Impeachment Judgment Clause does

not bar the criminal prosecution of a former president acquitted at a

Senate trial.



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     First, “[i]mpeachment and criminal prosecution serve entirely

distinct goals.” Indicted and Tried for the Same Offenses, 24 Op. O.L.C.

at 130; see Hastings, 716 F. Supp. at 42.         Impeachment provides

Congress with a political check on the Executive Branch to address

through removal the “misconduct of public men” for “injuries done

immediately to the society itself.”      Federalist No. 65, at 364.    The

Constitution’s limitation of Congress’s sanction to removal and

disqualification reflects the view that “the national legislature is not to

be trusted with dispensing criminal punishments, sanctions aimed not at

protecting the integrity of the government’s operations but at penalizing

individuals by taking away their life, liberty, or property.” Indicted and

Tried for the Same Offenses, 24 Op. O.L.C. at 130. By contrast, the

Executive Branch is constitutionally entrusted with the “power of

prosecution,” Hastings, 716 F. Supp. at 42, to enforce the violation of

congressionally passed penal statutes. Neither branch’s independent

action, however, can “effectively prevent,” id., the other branch from

acting.

     Second, acquittal in a Senate impeachment trial may reflect a

technical or procedural determination rather than a factual conclusion



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that the official in question did not commit the alleged acts. Indicted and

Tried for the Same Offenses, 24 Op. O.L.C. at 131. That is true of the

defendant’s impeachment proceedings. See JA.407-08 (explaining that

at least 31 of the 43 Senators who voted to acquit the defendant explained

that their decision to do so rested in whole or in part on their agreement

with the defendant’s argument that the Senate lacked jurisdiction to try

him because he was no longer in office). Several Senators who voted

against conviction on jurisdictional grounds emphasized the defendant’s

criminal responsibility for the events of January 6. See, e.g., 167 Cong.

Rec. S736 (daily ed. Feb. 13, 2021) (Sen. McConnell) (explaining that his

vote was based on the view that the Senate lacked jurisdiction and

stating that the defendant “is still liable for everything he did while he

was in office, “as an ordinary citizen”; and noting that “[w]e have a

criminal justice system in this country”). Those votes and statements

make clear that, to the extent those considerations played a role,

Senators were not adjudicating the defendant’s factual guilt, but rather

were relying on a legal judgment about the scope of the Senate’s

jurisdiction, a “political judgment” about what constitutes “high crimes

and misdemeanors,” and a practical judgment on whether removal and



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disqualification best serve the country “at a particular moment in our

nation’s history.” Indicted and Tried for the Same Offenses, 24 Op.

O.L.C. at 132-33.

     c. The defendant’s counterarguments fail. First, the defendant’s

reliance (Br.46-48) on an asserted negative implication—that the phrase

“Party convicted” in the Impeachment Judgment Clause requires that an

officer be both impeached and convicted before that officer may face

criminal prosecution—is misplaced.       The prior portion of the Clause

limits the permissible consequences that the Senate may impose upon

conviction. The portion of the Clause on which the defendant relies then

makes clear that such a party is subject to criminal prosecution, but it

does not speak to acquittal at all. In any event, the asserted negative

implication could not overcome the historical evidence and structural

considerations indicating that the Impeachment Judgment Clause was

intended to limit congressional sanctions for impeachment to removal

and disqualification from office, not to preclude the prosecution of an

impeached but not convicted officer. See Thompson v. Trump, 590 F.

Supp. 3d 46, 86-87 (D.D.C. 2022).




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     Second, the defendant repeatedly contends (Br.6, 13, 14-15, 26, 50-

51) that Hamilton’s writings support his position. Hamilton’s essays

stressed the function of impeachment as a safeguard against the abuse

of power by an incumbent President—who would also be liable to

criminal punishment after removal or departure from office. But nothing

in his writings addressed what the defendant seeks to establish: that

acquittal by the Senate would forestall the criminal prosecution of a

former President. Instead, Hamilton explained why the Supreme Court

was not the proper body to serve as an impeachment court, Federalist

No. 65, how a President differed from the British monarch, Federalist

No. 69, and that, despite the President’s formidable powers, strong

constitutional safeguards existed to protect the Nation, Federalist No. 77.

Hamilton’s inventory of constitutional protections did not suggest that a

former President could not be prosecuted if he was impeached but not

convicted. Rather, the strong current that runs through all three of

Hamilton’s essays is that a former President, unlike a king, is amenable

to “the common course of law.” Federalist No. 77, at 432.

     2.   The defendant suggests (Br.46) that “[p]rinciples of Double

Jeopardy” underpin his claim that his acquittal in the Senate forecloses



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any future prosecution. But that vague invocation of double-jeopardy

principles falters for at least two reasons.

     First,   the    penalty    following      impeachment—removal    and

disqualification from office—is not criminal and thus does not implicate

double-jeopardy principles.     The Double Jeopardy Clause does not

preclude the imposition of any penalty “that could, in common parlance,

be described as punishment”; instead, it guards only against “imposition

of multiple criminal punishments for the same offense.”        Hudson v.

United States, 522 U.S. 93, 99 (1997) (internal quotation marks omitted).

To determine whether a penalty is criminal or civil proceeds in two steps.

Courts first assess whether the legislature, “in establishing the

penalizing mechanism, indicated either expressly or impliedly a

preference” for labelling the penalty as civil or criminal. United States

v. Ward, 448 U.S. 242, 248 (1980); cf. Johnson v. Quander, 440 F.3d 489,

501 (D.C. Cir. 2006). Second, even where the legislature intended to

enact a civil penalty, courts must determine whether that penalty is

nonetheless “so punitive either in purpose or effect . . . as to transform

what was clearly intended as a civil remedy into a criminal penalty.”

Hudson, 522 U.S. at 99 (brackets and internal quotation marks omitted).



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The Supreme Court in Kennedy v. Mendoza-Martinez, 372 U.S. 144

(1965), set out several factors as “useful guideposts,” Hudson, 522 U.S. at

99, to determine whether a nominally civil penalty is criminal. 372 U.S.

at 168-69; see Johnson, 440 F.3d at 502-03 (applying Mendoza-Martinez

factors and concluding that statute requiring DNA collection was

punitive in “neither purpose nor effect”).

     Rather than try to establish that removal and disqualification from

office is a criminal penalty, the defendant simply assumes (Br.47) the

“criminal nature of the impeachment process.”        That assumption is

misguided. The historical evidence above showing that the Framers

intended that Congress could not impose the type of criminal sanctions

following impeachment that the British Parliament could exact, see

supra at 53-54, indicates that the Framers did not intend to create a

criminal sanction. Indeed, the Framers initially considered adopting

language in the Constitution that provided that “No person shall be

subject, except in cases of impeachment, to more than one punishment or

one trial for the same offence.” See Indicted and Tried for the Same

Offenses, 24 Op. O.L.C. at 134. But the Framers deleted the reference to

impeachment when they added the phrase “life or limb” to denote



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criminal   punishment,     making    the   exception    for   impeachment

superfluous because that remedy clearly did not risk criminal

punishment. See id. at 134-35. That history underscores the common-

sense intuition that being terminated from, or prevented from obtaining,

a job is qualitatively different than facing a prison term or execution. But

even if that were not so, the Mendoza-Martinez factors overwhelmingly

support a finding that removal and disqualification from office does not

constitute a criminal penalty.    See Indicted and Tried for the Same

Offenses, 24 Op. O.L.C. at 139-48 (applying Mendoza-Martinez factors to

removal and disqualification following impeachment).

     Second, even if the Double Jeopardy Clause (or analogous principles

derived from it, Br.54 n.7) applied, it would not bar the defendant’s

prosecution. The Clause protects against multiple punishments for the

same offense. See Missouri v. Hunter, 459 U.S. 359, 365-66 (1983). But

the Double Jeopardy Clause “is not implicated simply because a criminal

charge involves ‘essentially the same conduct’ for which a defendant has

previously been punished.”      Hudson, 522 U.S. at 107 (Stevens, J.,

concurring) (citing United States v. Dixon, 509 U.S. 688, 696, 704 (1996)).

Instead, whether two offenses are the same for double-jeopardy purposes



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requires ascertaining whether each requires proof of an element that the

other does not. See Blockburger v. United States, 284 U.S. 299, 304

(1932). It is not enough that there may be some overlap between the

conduct charged in each case.

     Any double-jeopardy claim here would founder in light of these

principles.   Without support, the defendant asserts that his Senate

acquittal and the indictment in this case involve “the same or closely

related conduct.” Br.52. Not so. The single article of impeachment

alleged a violation of “Incitement of Insurrection,” H.R. Res. 24, 117th

Cong. at 2 (Jan. 11, 2021) (capitalization altered), and charged that the

defendant had “incit[ed] violence against the Government of the United

States,” id. at 3. The most analogous federal statute is 18 U.S.C. § 2383,

which prohibits “incit[ing] . . . any rebellion or insurrection against the

authority of the United States or the laws thereof.” A violation of Section

2383 would therefore require proof that the violence at the Capitol on

January 6, 2021, constituted an “insurrection against the authority of the

United States or the laws thereof” and that the defendant incited that

insurrection. Incitement, in turn, requires proof that the speaker’s words

were both directed to “producing imminent lawless action” and “likely to



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incite or produce such action.” Brandenburg v. Ohio, 395 U.S. 444, 447

(1969) (per curiam); NAACP v. Claiborne Hardware Co., 458 U.S. 886,

927-28 (1982). None of the offenses charged here—18 U.S.C. § 371, 18

U.S.C. § 1512(c)(2) and (k), and 18 U.S.C. § 241—has as an element any

of the required elements for an incitement offense. And the elements of

the charged offenses—e.g., conspiring to defeat a federal governmental

function through deceit under Section 371, obstruct an “official

proceeding” under Section 1512, and deprive persons of rights under

Section 241—are nowhere to be found in the elements of a violation of

Section 2383 or any other potential incitement offense. The mere fact

that some of the conduct on which the impeachment resolution relied is

related to conduct alleged in the indictment does not implicate the Double

Jeopardy Clause or its principles. See Dixon, 509 U.S. at 696.

                             CONCLUSION

     For the foregoing reasons, the Court should affirm the district

court’s order denying the defendant’s motions to dismiss on Presidential-

immunity and double-jeopardy grounds. For the reasons given in the

Government’s motion to expedite appellate review, including the

imperative public importance of a prompt resolution of this case, the



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Government respectfully requests the Court to issue the mandate five

days after the entry of judgment. Such an approach would appropriately

require any party seeking further review to do so promptly.

                                     Respectfully submitted,

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                     CERTIFICATE OF SERVICE

     In accordance with Fed. R. App. P. 25(d), the undersigned counsel

of record certifies that the foregoing Answering Brief for the United

States was this day served upon counsel for appellant, by notice of

electronic filing with the District of Columbia Circuit CM/ECF system.

DATED: DECEMBER 30, 2023

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